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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

CHAMBERS OF
AMY BERMAN JACKSON
UNITED STATES DISTRICT JUDGE

December 17, 2021

Richard C. Visek

Acting Legal Advisor

United States Department of State
2201 C Street, N.W.

Washington, D.C. 20520

Re:  Felber et al. v. Islamic Republic of Iran
Civil Action No. 19-1027
United States District Court for the District of Columbia

Dear Mr. Visek:

The above captioned case is currently pending in the United States District Court for the
District of Columbia. This case arises out of severe physical injuries sustained by plaintiff
Nathaniel Felber, a U.S. national who was serving in the Israeli military at the time, in a December
13, 2018 terrorist attack. Plaintiffs allege that a Hamas operative opened fire on a bus stop at the
Givat Assaf Junction in the Palestinian territories; Felber was shot in the head, two Israeli soldiers
were killed, and a civilian was also injured. See generally Compl. (enclosed). Plaintiffs filed this
action against the Islamic Republic of Iran pursuant to the terrorism exception to sovereign
immunity in the Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. § 1605A. The complaint
states that Iran has provided material support to Hamas, and that the country has been designated
a State Sponsor of Terrorism since 1984.

On January 24, 2020, the Clerk of the Court entered default as to the Islamic Republic of
Iran and plaintiffs have filed a motion for default judgment. See Pls.’ Mot. for Default J.
(enclosed).

Having reviewed the complaint, affidavits submitted in support of the complaint, and
plaintiffs’ motion for default judgment, as well as the relevant law, it appears that the pleadings
raise important questions, and that it could be helpful to the Court to learn what the Department
has to say about the matter. Accordingly, pursuant to 28 U.S.C. § 517, the Court hereby invites
the Department of State to communicate its views on the questions to be resolved, including but
not limited to the following issues:
1.

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The Department of State’s position as to whether the terrorism exception to sovereign
immunity applies when a U.S. national is injured while they are on duty as a member of a
foreign military.

The Department of State’s position as to whether Iran’s support of Hamas can support
liability under FSIA when Hamas has not claimed responsibility for the particular attack at
issue, See generally Aff. of Arieh Dan Spitzen (enclosed).

If the Department chooses to convey its views on these matters, the Court would greatly

appreciate a response by January 31, 2022.

cc.

Thank you very much for your consideration and cooperation.

AMY BERMAN JACKSON
United States District Judge

 

Aaron Schlanger, Esq., w/o encl.
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